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                         THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

        Plaintiff,                                    Case No.:

        v.                                            PATENT CASE

                                                      JURY TRIAL DEMANDED
 MIKU, INC.,

        Defendant.


                                          COMPLAINT

       Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” and/or “RBDS”)

files this complaint against Miku, Inc. (“Defendant” and/or “Miku”) for infringement of U.S.

Patent No. 8,856,221 (hereinafter the “221 Patent”) and alleges as follows:

                                            PARTIES

       1.      Plaintiff is a Texas limited liability company with an office at 1 East Broward

Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

       2.      On information and belief, Defendant is a Delaware corporation with its principal

place of business at 10 Woodbridge Center Dr., Woodbridge Township, NJ 07095, and may be

served through its agent, Incorporating Services, Ltd., 3500 S Dupont Hwy, Dover, DE 19901.

                                JURISDICTION AND VENUE

       3.      This action arises under the patent laws of the United States, 35 U.S.C. § 271 et

seq. Plaintiff is seeking damages, as well as attorney fees and costs.

       4.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents).

       5.      On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,


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has conducted business in this District, and/or has engaged in continuous and systematic activities

in this District.

          6.        Upon information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in the district.

          7.        Venue is proper in this District under 28 U.S.C. §1400(b) because Defendant is

deemed to be a resident in this District. Alternatively, acts of infringement are occurring in this

District, and Defendant has a regular and established place of business in this District.

                                             BACKGROUND

          8.        On October 7, 2014, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘221 Patent, entitled “System and Method for Storing Broadcast

Content in a Cloud-Based Computing Environment” after the USPTO completed a full and fair

examination. The ‘221 Patent is attached as Exhibit A.

          9.        Rothschild Broadcast Distribution Systems is currently the owner of the ‘221

Patent.

          10.       Rothschild Broadcast Distribution Systems possesses all rights of recovery under

the ‘221 Patent, including the exclusive right to recover for past, present, and future infringement.

          11.       The ‘221 Patent contains thirteen claims including two independent claims (claims

1 and 7) and eleven dependent claims.

                                            COUNT ONE
                          (Infringement of United States Patent No. 8,856,221)

          12.       Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the same as

if set forth herein.

          13.       This cause of action arises under the patent laws of the United States and, in

particular under 35 U.S.C. §§ 271, et seq.



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       14.     Defendant has knowledge of its infringement of the ‘221 Patent, at least as of the

service of the present complaint.

       15.     The ‘221 Patent teaches a method and apparatus for media content storage and

delivery. ‘221 Patent, Abstract. Among other things, the claimed system includes a server, which

has a receiver in communication with a processor. Id. The receiver receives a request message.

Id. The request message includes media data indicating requested media content and a consumer

device identifier corresponding to a consumer device. Id. The processor determines whether the

consumer device identifier corresponds to a registered consumer device. Id. If the processor

determines that the consumer device identifier corresponds to the registered consumer device, then

the processor determines whether the request message is one of a storage request message and a

content request message. Id. If the request message is the storage request message, then the

processor is further configured to determine whether the requested media content is available for

storage. Id. If the request message is the content request message, then the processor initiates

delivery of the requested media content to the consumer device. Id.

       16.     The present invention solves problems that existed with then-existing media

delivery systems. One problem with prior delivery systems is that the customer was charged

according to the expenses of the provider rather than the usage of the customer. ‘221 Patent, 1:31-

57. Customers were not charged based on the amount of programming delivered or the amount or

duration of the customer’s storage of media. Id. Another such problem, more generally, is that

customers were not billed and services were not provided, in a way that was tailored to the

customer’s needs and usage. Id., 2:3-13.

       17.     A number of aspects of the invention(s) embodied in the ‘221 Patent overcome the

problems with the prior art.        For example, the inventive system includes a processor in




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communication with a receiver. Id., 2:23-34. The processor determines media content

characteristics that correspond to the media content to be stored. Id. The processor determines a

length of time to store the media content based on the media data and determines a cost amount

based at least in part on the determined media content characteristics and length of time to store

the media content. Id. As another example, the system makes a determination that media content

is available for download. Id., 2:64-3:2. A determination is made that content is not stored.

Download of the media content is initiated. Id. The media content is received and the received

media content is stored. Id.

         18.   The ‘221 Patent is directed to computerized technologies to provide users with

tailored media delivery systems and tailored billing for such systems. Among other things, the

‘221 Patent claims include sending and receiving of request messages indicating requested media

content and including a device identifier corresponding to a consumer device. A determination is

made whether the identifier corresponds to the device. A determination is also made as to whether

the request is for delivery or storage. The media data in the request includes time data that indicates

a length of time for storage. A processor is configured to determine whether requested media

exists and whether there are any restrictions associated with delivery or storage of the requested

media.

         19.   The system(s) and methods of the ‘221 Patent include software and hardware that

do not operate in a conventional manner. For example, the software is tailored to provide

functionality to perform recited steps and the processor is configured (and/or programmed) to

provide functionality recited throughout the claims of the ‘221 Patent.

         20.   The ‘221 Patent solves problems with the art that are rooted in computer technology

and that are associated with electronic transmission, loading, and storage of location information,




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as well as automatic provisioning of route guidance. The ‘221 Patent claims do not merely recite

the performance of some business practice known from the pre-Internet world along with the

requirement to perform it on the Internet.

        21.     The improvements of the ‘221 Patent and the features recited in the claims in the

‘221 Patent provide improvements to conventional hardware and software systems and methods.

The improvements render the claimed invention of the ‘221 Patent non-generic in view of

conventional components.

        22.     The improvements of the ‘221 Patent and the features recitations in the claims of

the ’221 Patent are not those that would be well-understood, routine, or conventional to one of

ordinary skill in the art at the time of the invention.

        23.     Accordingly, Defendant has infringed and continues to infringe, the ‘221 Patent in

violation of 35 U.S.C. § 271. Upon information and belief, Defendant has infringed and continues

to infringe one or more claims, including at least Claim 7, of the ‘221 Patent by making, using,

importing, selling, and/or offering for media content storage and delivery systems and services

covered by one or more claims of the ‘221 Patent.

        24.     Defendant sells, offers to sell, and/or uses media content storage and delivery

systems and services, including, without limitation, the Miku cloud-based IP security camera, any

associated hardware, software, and apps, as well as any similar products (“Product”), which

infringe at least Claim 7 of the ‘221 Patent.

        25.     The Product practices a method of storing (e.g., cloud storage) media content (e.g.,

conference recording) and delivering requested media content (streaming video, recorded videos,

etc.) to a consumer device (e.g., mobile device with an app or software). Certain aspects of these




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elements are illustrated in the screenshots below and/or in those provided in connection with other

allegations herein.




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       26.     The Product necessarily includes a receiver configured to receive a request message

including data indicating requested media content (e.g., the Product must have infrastructure to

receive a request to store recorded media content or to stream recorded media content on a

smartphone; additionally, the request message must contain data that identifies the content to be

stored or streamed) and a consumer device identifier corresponding to a consumer device (e.g., the

user credentials are used to access the contents of the Product). Certain aspects of these elements

are illustrated in the screenshots below and/or in those provided in connection with other

allegations herein.




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       27.     The Product necessarily determines whether the consumer device identifier

corresponds to the registered consumer device (e.g., a user must be a registered user to access the

Product’s services). Certain aspects of these elements are illustrated in the screenshots below

and/or in those provided in connection with other allegations herein.




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       28.    The Product provides for both media downloads and/or storage, and media

streaming. After a successful login, the Product necessarily determines whether the request

received from a customer is a request for storage (e.g., recording or storing content) or content

(e.g., streaming of media content). Certain aspects of these elements are illustrated in the

screenshots below and/or in those provided in connection with other allegations herein.




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       29.     The Product verifies that media content identified in the media data of the storage

request message (e.g., request to record content) is available for storage in order to prevent data

errors that would result from attempting to store content that is not available for storage. The

Product must verify that the media content (e.g. specific recording) identified in the media data of

the storage request message is available for storage in order to prevent data errors that would result

from attempting to store content that is not available for storage (e.g., the product must verify a

user’s ability to store media content is limited to a certain amount of memory and/or time). Certain

aspects of these elements are illustrated in the screenshots below and/or in those provided in

connection with other allegations herein.




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       30. If a customer requests content (e.g., live streaming of media content), then a processor

within the Product necessarily initiates delivery of the content to the customer’s device. The

Product will initiate delivery of the requested media content to the consumer device (e.g., stream

media content feed to a smartphone or tablet etc.) if the request message is a content request

message (e.g., request for live streaming). Certain aspects of these elements are illustrated in the

screen shots below and/or in screen shots provided in connection with other allegations herein.




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       31.    The media data includes date and time information to identify conference start and

stop times, as well as meeting length. Time data may also indicate a length of time to store the

requested media content (e.g., a user is allowed to store media content for a retention period

configured by the user per their subscription level). Certain aspects of these elements are illustrated

in the screenshots below and/or in those provided in connection with other allegations herein.




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          32.   The Product must first determine whether the requested media content exists prior

to initiating delivery in order to prevent data errors that would result from attempting to transmit

media content that does not exist (e.g., the product must verify that a particular requested data is

stored in the cloud). Also, a user can view the history of media content and the processor can

identify the existence of that particular media content. Certain aspects of these elements are

illustrated in the screenshots below and/or in those provided in connection with other allegations

herein.




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       33.    After the processor determines whether the requested media content is available, it

determines whether there are restrictions associated with the requested media content (e.g., user

access restrictions, etc.). Certain aspects of these elements are illustrated in the screenshots below

and/or those provided in connection with other allegations herein.




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       34.   Defendant’s actions complained of herein will continue unless Defendant is enjoined

by this Court.




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        35.   Defendant’s actions complained of herein is causing irreparable harm and monetary

damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and restrained

by this Court.

        36.      The ‘221 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        37.      A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast Content

in a Cloud-based Computing Environment,” is attached hereto as Exhibit A.

        38.      By engaging in the conduct described herein, Defendant has injured Plaintiff and is

liable for infringement of the ‘221 Patent, pursuant to 35 U.S.C. § 271.

        39. Defendant has committed these acts of literal infringement, or infringement under the

doctrine of equivalents of the ‘221 Patent, without license or authorization.

        40.      As a result of Defendant’s infringement of the ‘221 Patent, injured Plaintiff has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

        41.      Plaintiff is in compliance with 35 U.S.C. § 287.

        42.      As such, Plaintiff is entitled to compensation for any continuing and/or future

infringement of the ‘221 Patent up until the date that Defendant ceases its infringing activities.

                                   DEMAND FOR JURY TRIAL

        43. Under Rule 38 of the Federal Rules of Civil Procedure, Plaintiff respectfully requests

a trial by jury of any issues so triable by right.

                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff asks the Court to:

        (a) Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;




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       (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receives notice of

the order from further infringement of United States Patent No. 8,856,221 (or, in the alternative,

awarding Plaintiff running royalty from the time judgment going forward);


       (c) Award Plaintiff damages resulting from Defendant’s infringement in accordance with

35 U.S.C. § 284;


       (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law

or equity.


Dated: May 19, 2022                      Respectfully submitted,


                                         /s/ Mark A. Kriegel
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